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                         IN THE UNITED STATES DISTRICT
                       COURT FOR THE NORTHERN DISTRICT
                          OF ILLINOIS EASTERN DIVISION


 ZHIYONG HUANG,
                                                      Case No. 1:24-cv-05569
                Plaintiff,
                                                      Judge John J. Tharp
 v.
                                                      Magistrate Judge Keri L. Holleb
 PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE “A”,

                Defendants.




                         NOTICE OF VOLUNTARY DISMISSAL



Pursuant to FRCP 4(a)(1)(A)(i), Plaintiff hereby informs this Court that following Defendants,
identified in Schedule A of the Complaint, and Plaintiff have reached Settlement:
    1. MSCOCO Hair (Defendant No. 16) with Amazon Seller ID A3KYP5QM6SO6VO
    2. Tinashe Hair (Defendant No. 23) with Amazon Seller ID A1FCLDVWN9V1DU

Plaintiff hereby voluntarily dismisses Defendant from this dispute, each party to bear its own
fees, costs, and expenses.

      4 November 2024
Dated ____________________                                 Respectfully Submitted:

                                                           ________________________
                                                           Robert M. DeWitty
                                                           DeWitty and Associates
                                                           Attorney, Plaintiff
                                                           Email rmdewitty@dewittyip.com
                                                                 admin@dewittyip.com
                                                           Tele: 202-571-7070
                                                           Fax: 202-513-8071
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                                CERTIFICATE OF SERVICE



       The undersigned certifies that a true and correct copy of the above and foregoing

                                     4 November 2024
document was electronically filed on _______________________ with the Clerk of Court

using the CM/ECF system, which will automatically send an email notification of such filing

to all registered attorneys of record.



                                                         ____________________________

                                                          Robert M. DeWitty
